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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                             OAKLAND DIVISION




IN RE APPLE INC. SECURITIES LITIGATION      Case No. 4:19-cv-02033-YGR




   REBUTTAL SUMMARY AND EXPERT REPORT OF ERIC POER, CPA, CFF, ABV, CFE




                Highly Confidential under the Stipulated Protective Order




                                      June 10, 2022




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       B.        Dr. Shenkar’s analysis of purported “warning signs” in Greater China
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I.   REBUTTAL ASSIGNMENT


     1. I submitted a report on April 27, 2022 and a corrected version on May 9, 2022 (“Poer

         Opening Report”) containing my summary analyses related to Apple’s iPhone forecasts and

         results during the first quarter of fiscal year 2019 (“Q1 FY2019”) and my expert opinions

         regarding Apple’s forecasting processes and results in Q1 FY2019, focusing on Apple’s

         performance in Greater China.

     2. Orrick Herrington & Sutcliffe LLP has asked me to review and respond to the report of

         plaintiff’s expert Dr. Oded Shenkar dated April 27, 2022 (the “Shenkar Report”). This

         rebuttal report (“Poer Rebuttal Report”) contains the summary analysis and opinions I

         formulated in response to the Shenkar Report.1

     3. This rebuttal report incorporates the terms that I defined in the Poer Opening Report and the

         terms have the same meaning unless otherwise noted.

     4. My opinions are based on the documents and other information I relied on, as detailed in

         Appendix A. I may revise and/or supplement this report if I become aware of new

         information, and I reserve the right to offer opinions, analyses, and reasons why these

         opinions are accurate and opinions provided by any expert designated by the plaintiff are

         flawed or ought to be rejected. In addition, I reserve the right to supplement the factual

         support for these arguments given the depth of the record and the limited time available to

         craft this rebuttal report.




     1
      As explained in the Poer Opening Report, I have been retained as both a summary witness and
     an expert witness. See Poer Opening Report ¶ 2.
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II.   SUMMARY OF DATA EXAMINED IN RESPONSE TO THE SHENKAR REPORT


      5. I prepared the following charts that illustrate the data contained in reports I reviewed in

          connection with my rebuttal assignment:

             a. Rebuttal Chart 1 - Summary Chart & Analysis, Total Quarterly Revenue,2 Greater

                 China, Q2-Q4 FY2017 and Q2-Q4 FY2018.

                      i. Contents:

                             1. The actual Q2-Q4 FY2017 Greater China total quarterly revenue.

                             2. The actual Q2-Q4 FY2018 Greater China total quarterly revenue.

                             3. The actual Q2-Q4 FY2018 Greater China total quarterly revenue year-

                                 over-year percentage change vs. the previous year (Q2-Q4 FY2017).

             b. Rebuttal Chart 2 - Summary Chart & Analysis, iPhone Quarterly Revenue, Greater

                 China, Q2-Q4 FY2017 and Q2-Q4 FY2018.

                      i. Contents:

                             1. The actual Q2-Q4 FY2017 Greater China iPhone quarterly revenue.

                             2. The actual Q2-Q4 FY2018 Greater China iPhone quarterly revenue.

                             3. The actual Q2-Q4 FY2018 Greater China iPhone quarterly revenue

                                 year-over-year percentage change vs. the previous year (Q2-Q4

                                 FY2017).3


      2
        “Total Quarterly Revenue” refers to all Apple revenue, not exclusively Apple’s iPhone
      revenue, which is depicted in Rebuttal Chart 2.
      3
        I also prepared a chart that contains a combination of data from Rebuttal Charts 1 and 2. See
      Rebuttal Chart 2.1 in Appendix B.
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       c. Rebuttal Chart 3 - Summary Chart & Analysis, iPhone Year-over-Year Revenue

           and Unbrickings (UBs) Growth, Greater China, Q3-Q4 FY2018 vs. Q3-Q4 FY2017

           and Q1 FY2019 (Monthly) vs. Q1 FY2018 (Monthly).

               i. Contents:

                      1. The actual Q3 and Q4 FY2018 Greater China quarterly iPhone

                          unbrickings year-over-year percentage change vs. the previous year

                          (Q3 and Q4 FY2017).

                      2. The actual Q3 and Q4 FY2018 Greater China quarterly iPhone

                          revenue year-over-year percentage change vs. the previous year (Q3

                          and Q4 FY2017).

                      3. The actual October, November, and December FY2018 Greater China

                          monthly iPhone unbrickings year-over-year percentage change vs. the

                          previous year (October, November, and December FY2017).4

       d. Rebuttal Chart 4 - Summary Chart & Analysis, iPhone Year-over-Year Revenue

           Growth, Greater China, Brazil, India, Russia, and Turkey, Q2-Q4 FY2018 vs. Q2-Q4

           FY2017.

               i. Contents:




4
  I was unable to identify monthly iPhone year-over-year revenue data for Greater China in the
reports I examined. I prepared an additional chart that includes an iPhone revenue estimate for
the month of October 2018, which I will explain in the next section of this report. See Rebuttal
Chart 3.1 in Appendix B.
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                      1. The actual Q2-Q4 FY2018 iPhone quarterly revenue year-over-year

                          percentage change vs. the previous year (Q2-Q4 FY2017) for: 5

                              a. Greater China

                              b. Brazil

                              c. India

                              d. Russia

                              e. Turkey

       e. Rebuttal Chart 5 - Summary Chart & Analysis, iPhone Average Selling Price (ASP)

           by Geography, Select Geographies, Q2 FY2017 - Q4 FY2018.

               i. Contents:

                      1. The actual Q2 FY2017 - Q4 FY2018 iPhone quarterly average selling

                          price (in U.S. dollars) for both:

                              a. Greater China; and

                              b. The weighted average selling price for Brazil, India, Russia,

                                 and Turkey.6




5
  Using the same data, I also prepared individual charts for Brazil vs. Greater China, India vs.
Greater China, Russia vs. Greater China, and Turkey vs. Greater China. See Rebuttal Charts 4A-
4D in Appendix B.
6
  I also prepared a chart that contains the individual quarterly ASPs for Greater China, Brazil,
India, Russia, and Turkey. See Rebuttal Chart 5.1 in Appendix B.
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       f. Rebuttal Chart 6 – iPhone Percentage Increase in Launch Price (in Local Currency)

          - iPhone XR vs. iPhone 8 and iPhone XR vs. iPhone 6, Select Geographies, at

          Product Launch.7

               i. Contents:

                      1. The actual percentage change in iPhone price (in local currency) at the

                         time of launch in China, Brazil, India, Russia, and Turkey between the

                         following iPhone product launches:

                              a. iPhone XR vs. iPhone 8

                              b. iPhone XR vs. iPhone 6

       g. Rebuttal Chart 7A – YoY Weekly Store Traffic Growth - Reseller Stores, Greater

          China, Q1 FY2019.

               i. Contents:

                      1. The weekly actual Q1 FY2019 Greater China reseller store traffic

                         year-over-year percentage change vs. the previous year (Q1 FY2018).

       h. Rebuttal Chart 7B – YoY Weekly Store Traffic Growth - Reseller Stores, Greater

          China, Q4 FY2018 - Q1 FY2019.

               i. Contents:




7
 I also prepared bar charts that contain the percentage increase in launch price (in local
currency) for the iPhone XR vs. iPhone 8 and iPhone XR vs. iPhone 6. See Rebuttal Charts 6.1
and 6.2 in Appendix B.
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                                 1. The weekly actual Q4 FY2018 - Q1 FY2019 Greater China reseller

                                     store traffic year-over-year percentage change vs. the previous year

                                     (Q4 FY2017 - Q1 FY2018).

              i. Rebuttal Chart 7C – YoY Weekly Store Traffic Growth - Retail Stores,8 Greater

                  China, Q1 FY2019.

                      i. Contents:

                              1. The weekly actual Q1 FY2019 Greater China retail store traffic year-

                                 over-year percentage change vs. the previous year (Q1 FY2018).


III.   REBUTTAL OPINIONS


       A. Dr. Shenkar’s opinions concerning Apple’s internal data regarding its performance in
          Greater China are irrelevant and unreliable because he relied solely on one-off emails
          and documents and ignored key sales performance data that was part of Apple’s
          financial books and records.

       6. The Shenkar Report describes Apple’s “keen focus” on Greater China and its monitoring and

           analysis of data pertaining to Greater China.9 I agree with Dr. Shenkar’s statement that

           Apple “gathered a significant quantity of data on the Company’s business prospects [in]

           China, which tracked performance results and forecasts by week, lines of business, product

           and by geography.”10 Furthermore, Dr. Shenkar opined that Apple “triangulated in-house

           sources with those of outside analysts, research organizations, and the media to obtain a

           comprehensive and accurate picture of Apple’s overall business.”11 However, as I explain in

           this report, Dr. Shenkar conducted an incomplete analysis that improperly distorted Apple’s


       8
         Commonly known as “Apple Stores.”
       9
         Shenkar Report, section V.A.
       10
          Shenkar Report ¶ 131.
       11
          Shenkar Report ¶¶ 14(h), 181(h).
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     overall business outlook in Greater China due to his reliance on one-off emails and

     documents. Importantly, Dr. Shenkar ignored and failed to consider and present Apple’s

     actual sales and performance data and trends that were part of Apple’s financial books and

     records.


B. Dr. Shenkar’s analysis of purported “warning signs” in Greater China leading up to
   the Q4 FY2018 Earnings Call is irrelevant and unreliable because he ignored Apple’s
   year-over-year revenue data and related metrics and the testimony of percipient
   witnesses.

7. As I discuss in the Poer Opening Report, Apple maintained a robust and comprehensive

     forecasting process involving multiple people and teams from operational, sales, and

     financial reporting departments.12 Apple’s forecasts factored in multiple data points, and as

     Apple’s Vice President of Sales, Marketing, and Retail Finance Kevan Parekh testified, there

     were “lots of inputs that go into [Apple’s] sales forecasting process.”13

8. In his report, Dr. Shenkar identified certain documents that purportedly support the “warning

     signs” for Apple’s business in Greater China leading up to the Q4 FY2018 Earnings Call.14

     As addressed in the Rebuttal Expert Report of Carlyn Taylor, Dr. Shenkar not only

     misinterpreted this data, but he also failed to acknowledge that these purported warning signs

     and negative trends were actually reflected in Apple’s November 1, 2018 revenue guidance

     range.15,16 Additionally, Dr. Shenkar’s analysis is incomplete because he failed to examine


12
   Poer Opening Report, section V.A.
13
   March 10, 2021 Kevan Parekh 30(b)(6) Deposition Transcript (“Parekh 30(b)(6) Dep. Tr.”) at
252:8-9.
14
   Shenkar Report, section V.
15
   Expert Rebuttal Report of Carlyn Taylor, June 10, 2022 (“Carlyn Taylor Expert Report”),
sections IV and V.
16
   Apple’s iPhone unbrickings forecasts were prepared on a rolling basis and were continually
updated over time. See Poer Opening Report ¶ 46. See also Foley, C. Fritz & Khavkin, Mark


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   the total mix of information available to Apple regarding its Greater China business leading

   up to the Q4 FY2018 Earnings Call, including a multitude of data points and positive trends

   related to Apple’s iPhone business in Greater China that I will illustrate below.




(2019). How Companies Should Prepare Their Forecasts. Retrieved from Harvard Business
Review website: https://hbr.org/2019/04/how-companies-should-prepare-their-forecasts. “The
forecast is a living instrument and should be periodically updated to reflect any changes in
circumstances.”
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                          a. Apple’s revenue data showed positive year-over-year growth trends in
                             Greater China leading up to the Q4 FY2018 Earnings Call

9. Revenue is one of the most important performance metrics for a company and is routinely

     monitored and analyzed by internal and external stakeholders.17 As shown in Rebuttal

     Chart 1 below, in the three quarters leading up to the Q4 FY2018 Earnings Call, Apple

     experienced year-over-year total revenue growth in Greater China of 21%, 19%, and 16%.18

     This level of growth is significant when considering the difficult market conditions

     highlighted by Dr. Shenkar.19

                                                                                 Rebuttal Chart 1

                                                                                   Total Quarterly Revenue
                                                                                             Greater China
                                                                                   Q2-Q4 FY2017 and Q2-Q4 FY2018


               $ 15,000

               $ 14,000                      YoY Growth
                                                  21%
               $13,000
                                                                                                                                                             YoY Growth
               $12,000
                                                                                                                                                                 16%
               $11,000
           ~                                                                                        YoY Growth
           i   $10,000                                                                                   19%

           ~ $9,000
           C
           ~ $8,000
           ~
                                                                                                           I
           ~ $ 7,000
           &
           -f $6,000
           ~ $5,000
           a
                $4,000

                $3,000

                $2,000

                $ 1,000

                   $-
                                    Q2 FY2017        Q2 FY2018                              Q3 FY2017        Q3 FY2018                              Q4 FY2017        Q4 FY2018

           Source: The 02 FY2018 Revenue by ProductContrlbutlonCQ(APL·SECLIT_00274082at 083), The Q3 FY2018 Revenue by Product Contribution CQ(APL_SECUT_00353336.)dsK), The 04 FY2018
           Revenue by Product Contribution CQ (APL·SECUT_00281758 at 857).
           Note: Revenues In USD. See Schedule 1 for underl ying data and/or calculations.




17
   Alexander, J. (2018). Financial Planning & Analysis and Performance Management. Hoboken, New Jersey: John
Wiley & Sons, Inc., p. 329. “Revenue growth is one of the most important drivers in building and sustaining
shareholder value.”
18
   Year-over-year growth in revenue is an important performance metric. See Ibid. p. 21 “Sales growth is an
important determiner of financial performance…Two key sales growth measures are year-over-year growth and
compound annual growth rate (CAGR).” (emphasis added).
19
   Shenkar Report, section III.

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10. Similarly, as shown in Rebuttal Chart 2 below, in the three quarters leading up to the Q4

           FY2018 Earnings Call, Apple experienced year-over-year iPhone revenue growth in Greater

           China of 25%, 23%, and 27%. Notably, the year-over-year iPhone revenue growth in

           Greater China exceeded the total revenue growth (as shown in Rebuttal Chart 1) in each of

           these quarters.

                                                                             Rebuttal Chart 2

                                                                           iPhone Quarterly Revenue
                                                                                       Greater China
                                                                             Q2-Q4 FY2017 and Q2-Q4 FY2018


         $11,000

                                     YoY Growth
         $10,000                        25%


          $9,000
                                                                                                                                                         YoYGrowth
                                                                                                                                                            27%
          $8,000
0
V"I
::::>
"'C: $7,000                                                                                    YoYGrowth
~
                                                                                                  23%
::;;
.!: $6,000
~
OJ
:::,
C:
OJ  $5,000
 >
 OJ
a::
 >
.::
OJ
t: $4,000
"':::,
cJ
          $3,000


          $2,000


          $1,000


             s-
                            Q2 FY2017         Q2 FY2018                               Q3 FY2017        Q3 FY2018                                Q4 FY2017        Q4 FY2018

  Source: The Q2 FY2018 Revenue by Product Contribution CQ (APL-SECLIT_00274082 at 083), The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_003S3336.xlsx), The Q4 FY2018
  Revenue by Product Contribution CQ (APL-SECLIT_00281758at 857).
  Note: Revenues in USO. See Schedule 1 for underlying data and/or calculations.




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11. Furthermore, as detailed in the Poer Opening Report, Apple measured and monitored iPhone

          demand using data pertaining to “unbrickings.”20 Rebuttal Chart 3 below depicts the year-

          over-year growth in Greater China unbrickings and the corresponding growth in iPhone

          revenue in the periods surrounding the Q4 FY2018 Earnings Call.

                                                                             Rebuttal Chart 3

                                                       iPhone YoY Revenue and Unbrickings (UBs) Growth
                                                                                       Greater China
                                               Q3-Q4 FY2018 vs. Q3-Q4 FY2017 and Ql FY2019 (Monthly} vs. Ql FY2018 (Monthly}


          40%

                                      Quarterly YoY                                                                            Monthly YoY
                             YoY iPhone Revenue Growth
          30%
                                                               27%


          20"/o




          10%


~
,,:::;

~          0%
 e
\'.)
                                                                                                                                    Nov-18                             Dec-18
>-                                                                                                 -4%
0
>-       -10%               -8%


                                    \ /                         U %~
         -20%
                                  YoY iPhone UBs Growth


         -30%
                      ■ Unbrickings (UBs)
                      ■ Revenue
         -40%
                                                                                                                                     -40%
                                                                                                                                                                         -43%
                                                                                          Q4 2018 ea rnin gs ca ll 11/1/18
         -50%
  Source: The Q3 FY2018 Revenue by Product ContributionCQ(APL_SECLIT_00353336.xlsx), The Q4 FY2018 Revenue by Product ContributionCQ(APL-SECLIT_00281758at 857); Daily UB Report 10-
  31 (APL-SECLIT_00057742at 768), Daily UB Report 11-30 (APL-5ECLIT_00062505at 534), Daily UB Report 12-29(APL-SECLIT_00067341at 375); Daily UB Report 6-30 (APL-SECLIT_00040487at 514),
  Daily UB Report 9-29 (APL-SECLIT_00052726at 752).
  Note: Revenue growth in USO. I was unable to identify monthly iPhone year-over-year revenue data for Greater China in the reports I examined. See Schedule 3 for underlying data and/or
  calculations.




12. The above chart illustrates that year-over-year Greater China unbrickings were down -8%

          and -11% in the two quarters leading up to the Q4 FY2018 Earnings Call, and while

          unbrickings were also down -4% for the month of October 2018, a significant negative trend


20
         Poer Opening Report ¶ 14.
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   in unbrickings did not emerge until after the Q4 FY2018 Earnings Call when year-over-year

   unbrickings dropped to -40% and -43% in November 2018 and December 2018, respectively.

   Importantly, while the year-over-year unbrickings did have negative growth in Q3 FY2018

   and Q4 FY2018, Apple still experienced very positive year-over-year Greater China iPhone

   revenue growth of 23% and 27% in those quarters generally due to higher selling prices. In

   other words, while Apple was experiencing fewer unbrickings than prior periods, the selling

   prices were generally higher, resulting in increased year-over-year iPhone revenue.




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13. In Rebuttal Chart 3.1 below, I added a year-over-year iPhone revenue growth estimate for

     the month of October. I was unable to identify monthly year-over-year iPhone revenue data

     for Greater China in the reports I examined so I estimated iPhone revenue growth using the

     October unbrickings and average selling prices (“ASP”).21 Similar to Q3 and Q4 FY2018,

     this analysis demonstrates that while the year-over-year unbrickings growth for October 2018

     was negative (-4%), the estimated Greater China iPhone revenue growth was still positive.

                                                                                    Rebuttal Chart 3.1

                                                                iPhone YoY Revenue and Unbrickings (UBs) Growth
                                                                                             Greater China
                                                        Q3-Q4 FY2018 vs. Q3-Q4 FY2017 and Ql FY2019 (Monthly) vs. Ql FY2018 (Monthly)


            40%
                                              Qu arterly YoY                                                                         Monthly YoY
                                   YoY IPhone Revenue Growth : - - - - _
            30%
                                                I           \            21%
                                                                                                 ~-;;;,·~
                                   23%
            20%




      (!)
      >0
      >
            1()%



      *""3 0%
       e
            -10%
                                                                                                 I                                       Nov-18                              Deo-18



                                              "'/                        -11%

            -20%                       YoY i Phone UBs Growth - - - -



            -30%       ■ Unbrickings (UBs)

                       ■ Revenue

            -40%       ~ Estimated YoY Growth (UBs • Average Selling Price) [1]
                                                                                                                                          -40%
                                                                                                                                                                              -43%
                                                                                                Q4 2018earnings ca ll 11/ 1/18:
            -SO%
       Source: The Q3 FY2018 Revenue by Product Contribution CQ(APL_SECUT_00353336.,dsx), The 04 FY2018 Revenue by Product Contribution CQ(APL-SECUT_00281758at 857), The Ql FY2019 Greater China
       Data Sheet Backup (APL-SECUT_00289512 at 520); Dally UB Report 10-3 1 (APL-SECUT_OOOS7742 at 768), Dally UB Report 11-30 (APL-SECUT_00062505 at 534), Dally UB Report 12-29 (APL-SECLIT_00067341
       at 375); Dally UB Report 6-30 (APL·SECLIT_00040487 at 514), Daily UB Report 9-29 (APL·SECUT_00052726at 752).
       Note : Revenue growth ln USO.
       [1) See Schedules 3 and 3.la-c for underlying data and/or calculations.




21
   I estimated Greater China iPhone revenue by multiplying the unbrickings for October by the ASP for each iPhone
product. I checked the reasonableness of this approach with two calculations: first, I multiplied the Q1 FY2019
unbrickings (10,366,000) by the ASP for each product which resulted in $9,532,000,000, which is within 0.1% of
the actual Greater China iPhone revenue for the quarter ($9,536,000,000). Second, I applied this methodology (i.e.,
unbrickings multiplied by ASP) for Q4 FY2018/17 and calculated the year-over-year growth percentage to be 23%,
which is 4% less (i.e., more conservative) than the actual year-over-year Greater China iPhone revenue growth of
27%. See Schedule 3.1a-c for calculation details.

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                                b. Apple’s year-over-year positive iPhone revenue growth in Greater China
                                   was starkly different than the negative trends related to its iPhone
                                   revenue in Turkey, India, Brazil, and Russia leading up to the Q4 FY2018
                                   Earnings Call.

14. On the Q4 FY2018 Earnings Call, Mr. Cook stated that “[t]he emerging markets that we’re

       seeing pressure in are markets like Turkey, India, Brazil, Russia, these are markets where

       currencies have weakened over the recent period.”22 In the Poer Opening Report, I presented

       data pertaining to the currencies in these markets and Greater China.23 Rebuttal Chart 4

       below shows the year-over-year iPhone revenue growth in Greater China and these markets

       in the three quarters leading up to the Q4 FY2018 Earnings Call.

                                                                                               Rebuttal Chart 4

                                                                                   iPhone YoY Revenue Growth
                                                                         Greater China, Brazil, India, Russia, and Turkey
                                                                                  Q2-Q4 FY2018 vs. Q2-Q4 FY2017

                                            ■ Greater China                         ■ Brazil             ■ India                  ■ Russia                  ■ Turkey


                                           Q2 FY2018                                               Q3 FY2018                                                Q4 FY2018
              90%




              70%




              50%


      *""3:
       e
      (.'.J   30%
      >-
      0
      >-
      tJi
       :,     10%
      Ci



              -10%




              -30%

                                                                                                                                                                                   -34%


              -50%

        Source: The Q2 FY2018 Revenue by Product ContributionCQ(APL-SECLIT_00274082at 083), The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_00353336.xlsx), The Q4 FY2018
        Revenue by Product Contribution CQ (APL-SECUT_00281758at 857).
        Note: Revenue growth In USO. See Schedule 4 for underlying data and/or calculations.




22
     Apple’s Q4 FY2018 Earnings Call held on November 1, 2018.
23
     See Poer Opening Report, Charts 10-12.
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15. As shown above, Greater China had positive and stable iPhone revenue growth of 25%, 23%,

     and 27% in the three quarters leading up to the Q4 FY2018 Earnings Call. Conversely,

     Brazil and India experienced negative iPhone revenue growth during these quarters and the

     iPhone revenue growth in Turkey and Russia significantly declined each quarter.

16. Similarly, Rebuttal Chart 5 depicts Apple’s ASP in U.S. dollars from Q2 FY2017 through

     Q4 FY2018. In every quarter, the ASP in Greater China exceeded the weighted ASP for

     Brazil, India, Russia, and Turkey, which suggests that China did not have the same degree of

     currency valuation issues as the other markets. In Q2 FY2017, Greater China’s ASP

     exceeded the weighted ASP for the other markets by approximately $140, and this spread

     grew to approximately $360 by Q4 FY2018.

                                                                                       Rebuttal Chart 5


                                                     iPhone Average Selling Price "ASP" (in USO) by Geography
                                                                                         Select Geographies
                                                                                         Q2 FY2017-Q4 FY2018


          $ 1,000
                                               - - Grea ter Chin a                           - - - Brazil , India, Ru ss ia, & Turkey


            $900




            $800




            $700

  ~
  ::::,

  2.
  e;
  <t
            $600                                                                                 ,,, ,
                                                                                                         ,-- ........   .... .... ......... _________________ _
            $500
                                ------ ----- -- ...... ___,,, ,,,
            $400




            $300
                      Q2 FY2017                  Q3 FY2017                 Q4 FY2017                 Ql FY2018                  Q2 FY2018                 Q3 FY2018                 Q4 FY2018
   Source: Market Stat s SI & ST Units · iPhone and iPhone Analysis (APL_SECUT_00353335.xlsx), The 04 FY2018 Market St ats St & ST Units · iPhone {APL-SECUT_00281758 at 865); The 02 FV2018
   Revenue by Product Contribution CQ (APL·SECUT_00274082 at 083), The 03 FY2018 Revenue by Product Contribution CQ (APL_SECUT_00353336.xlsx), The 04 FY2018 Revenue by Product
   Contribution CQ (APL-SECLIT_00281758at 857), The Ql FY2019 Revenue by Product Contribution CO (APL-SECUT_00289512at 527).
   Note: ASP ln USO. Brazil, India, Russia, & Turkey is a weighted average calculated using USO iPhone Revenue divided by Sell-In Units. See Schedule 5 for underlying data and/or calculations.



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17. This point is further evident when examining iPhone launch prices in local currencies. As

     shown in Rebuttal Chart 6 below, in China the price of the iPhone XR, which launched on

     October 26, 2018,24 was 23% higher than the price of the iPhone 6, which launched on

     September 19, 2014,25 whereas prices increased 63%, 44%, 63%, and 215% in Brazil, India,

     Russia, and Turkey, respectively. When compared to the iPhone 8, which launched on

     September 22, 2017,26 the iPhone XR price in China was 10% higher, versus 30%, 20%,

     14%, and 76% in Brazil, India, Russia, and Turkey, respectively.

                                                         Rebuttal Chart 6

                                   iPhone Price Comparison (in Local Currency)
                                                        Select Geographies
                                                           at Product Launch




                                                  Percentage Increase in Launch Price
                                                       iPhone XR               iPhone XR
                                                           v.                      v.
                                                        iPhone 8                iPhone 6

                                   China                  10%                    23%

                                   Brazil                 30%                    63%

                                    India                 20%                    44%

                                   Russia                 14%                    63%

                                  Turkey                  76%                   215%


               Source: Launch Prices (APL_SECLIT_00161586 at 595).
               Note: Price in local currency.




24
   https://www.apple.com/newsroom/2018/09/apple-introduces-iphone-xr/.
25
   https://www.apple.com/newsroom/2014/09/09Apple-Announces-iPhone-6-iPhone-6-Plus-The-
Biggest-Advancements-in-iPhone-History/.
26
   https://www.apple.com/newsroom/2017/09/iphone-8-and-iphone-8-plus-now-available/.
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18. Notably, Dr. Shenkar did not perform any independent analysis regarding the important

      context of Mr. Cook’s comment that China was not in the same category as Turkey, India,

      Brazil, and Russia.


                 c. Apple’s store traffic data indicated positive trends leading up to the Q4
                    FY2018 Earnings Call.

19. In his report, Dr. Shenkar described the data and internal sources Apple accessed with regard

      to its business in Greater China, one of which was store traffic.27 Dr. Shenkar referenced the

      following excerpt from Mr. Cook’s January 2, 2019 CNBC interview, which is also included

      in plaintiff’s Complaint: “we saw, as the quarter went on, things like traffic in our retail

      stores, traffic in our channel partner stores, the reports of the smartphone industry

      contracting, particularly bad in November.”28




27
     Shenkar Report ¶ 134.
28
     Shenkar Report ¶ 8. See also Complaint ¶ 36.
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20. Accordingly, I examined various reports containing traffic data and summarized the data in

      the charts below.29 Rebuttal Chart 7A illustrates the year-over-year growth in store traffic

      for Apple’s reseller stores in Greater China by week for Q1 FY2019. Notably, November

      (i.e., week 5 – week 9) was down significantly, consistent with Mr. Cook’s January 2019

      comments to CNBC, and there was positive year-over-year growth in the two weeks leading

      up to the Q4 FY2018 Earnings Call.

                                                                                    Rebuttal Chart 7A


                                                            YoY Weekly Store Traffic Growth - Reseller Stores
                                                                                             Greater China
                                                                                                 Ql FY2019

        20%




        10%




         0%



*~
.c:

~      -10%
>-
0
>-



       -20%




                                  Q4 2018earnings ca ll 11/1/18

       -30%




                                                                                                    Ql FY2019
       -40%
      Week           1              2             3             4              5             6             7              8             9             10            11              12   13

 Source: Ql FY2019 Reseller Traffic (APL_SECLIT_00613375.xlsx).
 Note : The YoY growth percentages are calculated using average store traffic for the respective time period and program. See Schedule 7 for underlying data and/or calculations.




29
  On June 7, 2022, members of my team under my direction interviewed via videoconference
Apple employees Tina Tong (Sales Operation Manager – Greater China) and Karen Wang (Sales
Support Analyst – Greater China) to understand the Greater China reseller traffic reports and
data.
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21. Rebuttal Chart 7B below plots the same reseller traffic data for Q1 FY2019 as Rebuttal

        Chart 7A, but it also includes reseller traffic data for Q4 FY2018.

                                                                                Rebuttal Chart 7B


                                                           YoY Weekly Store Traffic Growth - Reseller Stores
                                                                                             Greater China
                                                                                       Q4 FY2018 - Ql FY2019


         20%
                                                                                                                                         Q4 2018earn ings ca ll 11/1/18


                                               Q4 FY2018
                                      Greater China YoY Growth [ll
         1()%
                                           Total Revenue ,t- 16%

                                           iPhone Revenue 'f'- 27%

          0%



'cf<.
.c
i
 e      -10%
\.?
>-
0
>-


        -20%




        -30%




                                                      Q4 FY2018                                                                                  Ql FY2019
        -40%
        Week      1      2      3      4       5      6      7      8      9     10     11     12     13      1      2      3      4      5      6      7      8      9      10      11   12   13
  Source: 04 FY2018 Reseller Traffic (APL_SECLIT_00087724.xlsx), 01 FY2019ResellerTraffic (APL_SECLIT_00613375.xlsx);The 04 FY2018 Revenue by Product Con tribution CO(APL-
  SECLIT_00281758 at 857).
  Note: The YoY growth percentages are calculated using average store traffic for the respective time period and program. See Schedule 7 for underlying data and/or calcula tions.
  Ill See Rebuttal Charts 1 and 2.



22. The Q4 FY2018 reseller traffic data indicates there was negative year-over-year growth in

        Greater China traffic for each week except week 13. However, these negative trends in

        traffic did not translate into revenue problems. Indeed, Apple’s Q4 FY2018 Greater China




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       year-over-year total revenue grew 16% and its iPhone revenue grew 27%30 which

       demonstrate traffic data is an imprecise measure of demand.31

23. Finally, I examined traffic data related to Apple Stores in Greater China during Q1 FY2019,

       and observed positive year-over-year traffic growth was achieved each week leading up to

       the Q4 FY2018 Earnings Call, as shown in Rebuttal Chart 7C below.

                                                                            Rebuttal Chart 7C


                                                              YoY Weekly Store Traffic Growth - Retail Stores
                                                                                      Greater China 11 l
                                                                                             Ql FY2019


        20%


                                                 13%


        10%




                   0.1%
         0%




*~
.r:
 0
       -10%
0
>-
0
>-


       -20%



                                  Q4 2018 ea rnin gs ca ll 11/1/18

       -30%




                                                                                                Ql FY2019
       -40%
       Week          1              2             3               4        5             6            7             8             9                         11            12        13
 Source: Ql FY2019 Ret ail Traffic (APL_S ECLIT_00204002.xlsx).
 Note: The YoY growt h percentages are calcula ted using average store t raffic fo r t he respective time period. See Schedule 7C for underlying da ta and/or calculations.
 [1J Data does not include Taiwan, which had one retail store during Ql FY2018 -Ql FY2019 (https://www.apple.com/newsroom/2017/06/apples-fi rst-store-in-taiwan-opens-saturday/).




30
      See Rebuttal Charts 1 and 2.
31
      See also Carlyn Taylor Expert Report, section V.A.
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24. In sum, the traffic data I examined supports Mr. Cook’s January 2019 statement that store

     traffic was “particularly bad in November” and also shows that there were positive traffic

     trends in both reseller and retail stores in the weeks leading up to the Q4 FY2018 Earnings

     Call, a data point Dr. Shenkar ignored in his analysis.


                d. Dr. Shenkar’s analysis failed to consider percipient witness testimony
                   regarding Apple’s optimism surrounding the iPhone XR.

25. The iPhone XR launched on October 26, 2018, just five days before the Q4 FY2018 Earnings

     Call.32 This very short window of time, and the fact that the iPhone XR was a unique

     product without comparable historical data, made it difficult for Apple to estimate demand.33

     Furthermore, because the iPhone XR did not have a similar predecessor product, Apple

     understood that its customers wanted to go into a store to see the iPhone XR before making a

     purchasing decision, further complicating the forecasting process.34 While Dr. Shenkar’s

     report contains references to select emails regarding the iPhone XR that were sent during the

     five days leading up to the Q4 FY2018 Earnings Call, Dr. Shenkar completely ignored the

     testimony of percipient witnesses who testified that based on the unique nature of the XR

     launch and the forthcoming holidays, there was considerable optimism that iPhone XR sales

     would increase significantly as the quarter progressed:

        But we, again, took into consideration the data points that we had very early in the launch
        cycle knowing that the XR was a product people would have to go see.
        And we had lots of selling weeks left in addition to some pretty meaningful holidays, you
        know, 11/11, Singles’ Day in China, Black Friday in the US, Christmas holiday
        seasonality.




32
   https://www.apple.com/newsroom/2018/09/apple-introduces-iphone-xr/.
33
   February 25, 2022 Luca Maestri Deposition Transcript 176:3 – 177:8.
34
   Ibid at 45:7-18. See also Carlyn Taylor Expert Report, section V.C.
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              So again, I would say we had stats on early start, and it had maybe come out as an early
              start that was slower. I believe, that was referenced in some documents. But it didn’t
              mean that we couldn’t hit our forecasts.
              We were optimistic that we could take action and actually, as the customers saw the
              product, given the reviews that the product could do a lot better over time.35


IV.   CONCLUSION


      26. As illustrated in the charts presented in this report and in Appendix B, there were numerous

           positive trends regarding Apple’s iPhone business in Greater China that existed in the period

           leading up to the Q4 FY2018 Earnings Call. Dr. Shenkar’s analysis failed to consider any of

           these important performance indicators or related percipient witness testimony and therefore

           his opinions are irrelevant and unreliable as to information Apple reasonably would have

           analyzed and relied upon in its forecast estimates.




      35
        March 8, 2022 Kevan Parekh Deposition Transcript 181:11 – 182:2. See also March
      15, 2022 Greg Joswiak Deposition Transcript 105:15-21 where he states that Singles’ Day was
      “of great interest to us” and Apple “had a lot of optimism about it.”
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Respectfully submitted,

  ~ <01

Eric Poer, CPA, CFF, ABV, CFE

June 10, 2022




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Rebuttal Summary and Expert Report of Eric Poer
In re Apple Inc. Securities Litigation
Documents Relied On

Note: Documents I relied on are also cited in footnotes to my report, charts, and supporting schedules.
* Item added in connection with rebuttal analysis

                                                                                                                   Bates Stamped Documents
Q1 FY2019 Daily Unbrickings Reports (APL-SECLIT_00052882 - APL-SECLIT_00067512)
Weekly Unbrickings Reports (APL-SECLIT_00362195, APL-SECLIT_00497938, APL-SECLIT_00362303)
Q4 FY2018 Earnings Call Prep Documents (APL-SECLIT_00261116, APL-SECLIT_00261126, APL-SECLIT_00281857)
11/1/18 report (v2) P&L Dashboard Forecast (APL-SECLIT_00284951)
Internal Foreign Exchange Spreadsheet (APL-SECLIT_00580456)
* The Q2 FY2018 Revenue by Product Contribution CQ (APL-SECLIT_00274082 at 083)
* The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_00353336.xlsx)
* The Q4 FY2018 Revenue by Product Contribution CQ (APL-SECLIT_00281758 at 857)
* The Q1 FY2019 Revenue by Product Contribution CQ (APL-SECLIT_00289512 at 527)
* The Q1 FY2019 Greater China Data Sheet Backup (APL-SECLIT_00289512 at 520)
* Daily UB Report 6-30 (APL-SECLIT_00040487 at 514), Daily UB Report 9-29 (APL-SECLIT_00052726 at 752)
* Market Stats SI & ST Units - iPhone and iPhone Analysis (APL_SECLIT_00353335.xlsx), The Q4 FY2018 Market Stats SI & ST Units - iPhone (APL-SECLIT_00281758 at 865)
* Q4 FY2018 Reseller Traffic (APL_SECLIT_00087724.xlsx), Q1 FY2019 Reseller Traffic (APL_SECLIT_00613375.xlsx)
* Q1 FY2019 Retail Traffic (APL_SECLIT_00204002.xlsx)
* Launch Prices (APL_SECLIT_00161586 at 595)

                                                                                                             Publicly Available Documents/Websites
Apple Inc. 2018 Form 10-K
Apple Q4 FY2018 Earnings Call Transcript, November 1, 2018
https://corporate.jd.com/home
Bloomberg (for foreign currency exchange rates)
* https://www.apple.com/newsroom/2018/09/apple-introduces-iphone-xr/
* https://www.apple.com/newsroom/2014/09/09Apple-Announces-iPhone-6-iPhone-6-Plus-The-Biggest-Advancements-in-iPhone-History/
* https://www.apple.com/newsroom/2017/09/iphone-8-and-iphone-8-plus-now-available/

                                                                                                                         Case Pleadings
CORRECTED CONSOLIDATED AND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL SECURITIES LAWS, January 15, 2020
CORRECTED CONSOLIDATED AND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF THE FEDERAL SECURITIES LAWS, January 15, 2020
DEFENDANTS’ MOTION TO DISMISS THE REVISED CONSOLIDATED CLASS ACTION COMPLAINT, July 13, 2020
LEAD PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS THE REVISED CONSOLIDATED CLASS ACTION COMPLAINT, July 27, 2020
DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS THE REVISED CONSOLIDATED CLASS ACTION COMPLAINT, August 3, 2020
ORDER GRANTING IN PART AND DENYING IN PART DEFENDANTS’ MOTION TO DISMISS THE REVISED CONSOLIDATED CLASS ACTION COMPLAINT, November 4, 2020
DEFENDANT TIMOTHY COOK’S SUPPLEMENTAL OBJECTIONS AND RESPONSES TO LEAD PLAINTIFF’S FIRST REQUESTS FOR ADMISSION, May 14, 2021

                                                                                                                     Deposition Transcripts
Kevan Parekh 30(b)(6) Deposition, March 10, 2021
Donal Conroy 30(b)(6) Deposition, March 15, 2021
Donal Conroy Deposition, February 21, 2022
Luca Maestri Deposition, February 25, 2022 (including Exhibits 20 and 21)
Kevan Parekh Deposition, March 8, 2022
* Greg Joswiak Deposition, March 15, 2022

                                                                                                                           Interviews
Videoconference with Anish Patel and Naznin Schroff, April 19, 2022
Videoconference with Tejas Gala, April 22, 2022
* Videoconference with Tina Tong and Karen Wang, June 7, 2022

                                                                                                                        Academic Literature
* Alexander, J. (2018). Financial Planning & Analysis and Performance Management . Hoboken, New Jersey: John Wiley & Sons, Inc.
* Foley, C. Fritz & Khavkin, Mark (2019). How Companies Should Prepare Their Forecasts. Harvard Business Review.

                                                                                                                         Expert Reports
* Expert Report of Oded Shenkar, April 27, 2022
* Expert Rebuttal Report of Carlyn Taylor, June 10, 2022




                                                                                                                                              1
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                                         Appendix B                                 Rebuttal Chart 1


                                                                                         Total Quarterly Revenue
                                                                                                   Greater China
                                                                                         Q2‐Q4 FY2017 and Q2‐Q4 FY2018

                                         $15,000

                                         $14,000           YoY Growth
                                                              21%
                                         $13,000
                                                                                                                                                                     YoY Growth
                                         $12,000
                                                                                                                                                                        16%
                                         $11,000
 Quarterly Revenue ($ in Millions USD)




                                                                                                          YoY Growth
                                         $10,000                                                             19%

                                          $9,000

                                          $8,000

                                          $7,000

                                          $6,000

                                          $5,000

                                          $4,000

                                          $3,000

                                          $2,000

                                          $1,000

                                             $‐
                                                      Q2 FY2017   Q2 FY2018                       Q3 FY2017         Q3 FY2018                               Q4 FY2017         Q4 FY2018
              Source: The Q2 FY2018 Revenue by Product Contribution CQ (APL‐SECLIT_00274082 at 083), The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_00353336.xlsx), The Q4 FY2018
              Revenue by Product Contribution CQ (APL‐SECLIT_00281758 at 857).
              Note: Revenues in USD. See Schedule 1 for underlying data and/or calculations.



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                                         Appendix B                                 Rebuttal Chart 2


                                                                                       iPhone Quarterly Revenue
                                                                                                   Greater China
                                                                                         Q2‐Q4 FY2017 and Q2‐Q4 FY2018

                                         $11,000

                                                           YoY Growth
                                         $10,000              25%

                                          $9,000
                                                                                                                                                                     YoY Growth
                                                                                                                                                                        27%
                                          $8,000
 Quarterly Revenue ($ in Millions USD)




                                          $7,000                                                           YoY Growth
                                                                                                              23%
                                          $6,000


                                          $5,000


                                          $4,000


                                          $3,000


                                          $2,000


                                          $1,000


                                             $‐
                                                      Q2 FY2017   Q2 FY2018                       Q3 FY2017         Q3 FY2018                               Q4 FY2017         Q4 FY2018
              Source: The Q2 FY2018 Revenue by Product Contribution CQ (APL‐SECLIT_00274082 at 083), The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_00353336.xlsx), The Q4 FY2018
              Revenue by Product Contribution CQ (APL‐SECLIT_00281758 at 857).
              Note: Revenues in USD. See Schedule 1 for underlying data and/or calculations.



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                                         Appendix B                                 Rebuttal Chart 2.1


                                                                                Total and iPhone Quarterly Revenue
                                                                                                   Greater China
                                                                                                    Q2‐Q4 FY2018

                                         $15,000
                                                                      Total          ■ iPhone Revenue              ■ Total Revenue
                                         $14,000                   YoY Growth
                                                                      21%
                                         $13,000                                                                                                                                Total
                                                                                                                                                                             YoY Growth
                                         $12,000
                                                                                                                                                                                16%
                                         $11,000        iPhone                                                       Total
 Quarterly Revenue ($ in Millions USD)




                                                      YoY Growth                                                  YoY Growth
                                         $10,000          25%                                                        19%
                                                                                                                                                             iPhone
                                          $9,000                                                                                                           YoY Growth
                                                                                                                                                               27%
                                          $8,000
                                                                                                   iPhone
                                          $7,000
                                                                                                 YoY Growth
                                                                                                     23%
                                          $6,000

                                          $5,000

                                          $4,000

                                          $3,000

                                          $2,000

                                          $1,000

                                             $‐
                                                           Q2 FY2018                                       Q3 FY2018                                                Q4 FY2018
              Source: The Q2 FY2018 Revenue by Product Contribution CQ (APL‐SECLIT_00274082 at 083), The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_00353336.xlsx), The Q4 FY2018
              Revenue by Product Contribution CQ (APL‐SECLIT_00281758 at 857).
              Note: Revenues in USD. See Schedule 1 for underlying data and/or calculations.



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                Appendix B                                         Rebuttal Chart 3


                                                           iPhone YoY Revenue and Unbrickings (UBs) Growth
                                                                                            Greater China
                                                    Q3‐Q4 FY2018 vs. Q3‐Q4 FY2017 and Q1 FY2019 (Monthly) vs. Q1 FY2018 (Monthly)

                40%
                       ___  _YoY
                          Quarterly _ ___J                                                 r-~-_-_-_ _;.__-,--_-_-_-_-_-_J           Monthly YoY

                30%
                                 YoY iPhone Revenue Growth
                                                                   27%
                                23%
                20%



                10%
 YoY Growth %




                 0%
                             Q3 FY2018                          Q4 FY2018                             Oct‐18                              Nov‐18                              Dec‐18
                              Apr ‐ Jun                          Jul ‐ Sep                             ‐4%
                ‐10%            ‐8%


                ‐20%
                                       \I
                                      YoY iPhone UBs Growth
                                                                   ‐11%




                ‐30%
                             Unbrickings (UBs)

                ‐40%
                       I :   Revenue
                                                                                                                                           ‐40%
                                                                                                                                                                                ‐43%
                                                                                               Q4 2018 earnings call 11/1/18
                ‐50%
     Source: The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_00353336.xlsx), The Q4 FY2018 Revenue by Product Contribution CQ (APL‐SECLIT_00281758 at 857); Daily UB Report 10‐
     31 (APL‐SECLIT_00057742 at 768), Daily UB Report 11‐30 (APL‐SECLIT_00062505 at 534), Daily UB Report 12‐29 (APL‐SECLIT_00067341 at 375); Daily UB Report 6‐30 (APL‐SECLIT_00040487 at 514),
     Daily UB Report 9‐29 (APL‐SECLIT_00052726 at 752).
     Note: Revenue growth in USD. I was unable to identify monthly iPhone year‐over‐year revenue data for Greater China in the reports I examined. See Schedule 3 for underlying data and/or
     calculations.




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                Appendix B                                         Rebuttal Chart 3.1


                                                          iPhone YoY Revenue and Unbrickings (UBs) Growth
                                                                                            Greater China
                                                   Q3‐Q4 FY2018 vs. Q3‐Q4 FY2017 and Q1 FY2019 (Monthly) vs. Q1 FY2018 (Monthly)

                40%
                                            Quarterly YoY                                                                           Monthly YoY
                                  YoY iPhone Revenue Growth
                30%
                                                                   27%                                31%
                                  23%
                20%



                10%
 YoY Growth %




                 0%
                               Q3 FY2018                       Q4 FY2018                             Oct‐18                              Nov‐18                              Dec‐18
                                Apr ‐ Jun                       Jul ‐ Sep                             ‐4%
                ‐10%              ‐8%
                                                                   ‐11%

                ‐20%                 YoY iPhone UBs Growth



                ‐30%    ■ Unbrickings (UBs)

                        ■ Revenue
                ‐40%         Estimated YoY Growth (UBs * Average Selling Price) [1]                                                       ‐40%
                                                                                                                                                                              ‐43%
                                                                                               Q4 2018 earnings call 11/1/18
                ‐50%
     Source: The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_00353336.xlsx), The Q4 FY2018 Revenue by Product Contribution CQ (APL‐SECLIT_00281758 at 857), The Q1 FY2019 Greater China
     Data Sheet Backup (APL‐SECLIT_00289512 at 520); Daily UB Report 10‐31 (APL‐SECLIT_00057742 at 768), Daily UB Report 11‐30 (APL‐SECLIT_00062505 at 534), Daily UB Report 12‐29 (APL‐SECLIT_00067341
     at 375); Daily UB Report 6‐30 (APL‐SECLIT_00040487 at 514), Daily UB Report 9‐29 (APL‐SECLIT_00052726 at 752).
     Note: Revenue growth in USD.
     [1] See Schedules 3 and 3.1a‐c for underlying data and/or calculations.



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                          Appendix B                                         Rebuttal Chart 4


                                                                                 iPhone YoY Revenue Growth
                                                                           Greater China, Brazil, India, Russia, and Turkey
                                                                                    Q2‐Q4 FY2018 vs. Q2‐Q4 FY2017

                                                   ■ Greater China                ■ Brazil                 ■ India                  ■ Russia                    ■ Turkey

                                                   Q2 FY2018                                         Q3 FY2018                                                  Q4 FY2018
                          90%


                                                               82%

                          70%




                          50%                                                                                     46%
 Quarterly YoY Growth %




                                                                     35%

                          30%                                                                                                                   27%
                                       25%                                           23%                                                                                     23%



                          10%



                                             ‐3%
                          ‐10%
                                                                                                                                                                   ‐10%
                                                                                                                            ‐12%                         ‐12%
                                                                                              ‐16%

                          ‐30%                       ‐24%

                                                                                                                                                                                      ‐34%
                                                                                                          ‐47%
                          ‐50%

        Source: The Q2 FY2018 Revenue by Product Contribution CQ (APL‐SECLIT_00274082 at 083), The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_00353336.xlsx), The Q4 FY2018
        Revenue by Product Contribution CQ (APL‐SECLIT_00281758 at 857).
        Note: Revenue growth in USD. See Schedule 4 for underlying data and/or calculations.



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                          Appendix B                                   Rebuttal Chart 4A


                                                                               iPhone YoY Revenue Growth
                                                                                       Greater China vs. Brazil
                                                                                    Q2‐Q4 FY2018 vs. Q2‐Q4 FY2017

                                                                 ■ Greater China                                                  ■ Brazil

                                             Q2 FY2018                                               Q3 FY2018                                                 Q4 FY2018
                          40%




                          30%
                                                                                                                                                         27%
                                       25%
                                                                                               23%

                          20%
 Quarterly YoY Growth %




                          10%




                           0%

                                                         ‐3%

                          ‐10%

                                                                                                                                                                            ‐12%

                                                                                                                  ‐16%
                          ‐20%




                          ‐30%
        Source: The Q2 FY2018 Revenue by Product Contribution CQ (APL‐SECLIT_00274082 at 083), The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_00353336.xlsx), The Q4 FY2018
        Revenue by Product Contribution CQ (APL‐SECLIT_00281758 at 857).
        Note: Revenue growth in USD. See Schedule 4 for underlying data and/or calculations.



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                          Appendix B                                   Rebuttal Chart 4B


                                                                               iPhone YoY Revenue Growth
                                                                                       Greater China vs. India
                                                                                    Q2‐Q4 FY2018 vs. Q2‐Q4 FY2017

                                                                   ■ Greater China                                                  ■ India

                                             Q2 FY2018                                               Q3 FY2018                                                 Q4 FY2018
                          40%



                          30%                                                                                                                            27%
                                       25%
                                                                                               23%

                          20%



                          10%
 Quarterly YoY Growth %




                           0%



                          ‐10%
                                                                                                                                                                            ‐10%


                          ‐20%

                                                         ‐24%
                          ‐30%



                          ‐40%

                                                                                                                  ‐47%
                          ‐50%

        Source: The Q2 FY2018 Revenue by Product Contribution CQ (APL‐SECLIT_00274082 at 083), The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_00353336.xlsx), The Q4 FY2018
        Revenue by Product Contribution CQ (APL‐SECLIT_00281758 at 857).
        Note: Revenue growth in USD. See Schedule 4 for underlying data and/or calculations.



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                          Appendix B                                   Rebuttal Chart 4C


                                                                               iPhone YoY Revenue Growth
                                                                                      Greater China vs. Russia
                                                                                    Q2‐Q4 FY2018 vs. Q2‐Q4 FY2017

                                                                  ■ Greater China                                                 ■ Russia

                                             Q2 FY2018                                               Q3 FY2018                                                 Q4 FY2018
                          90%



                          80%                            82%


                          70%



                          60%
 Quarterly YoY Growth %




                          50%
                                                                                                                  46%


                          40%



                          30%                                                                                                                            27%
                                       25%
                                                                                               23%                                                                           23%

                          20%



                          10%



                           0%

        Source: The Q2 FY2018 Revenue by Product Contribution CQ (APL‐SECLIT_00274082 at 083), The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_00353336.xlsx), The Q4 FY2018
        Revenue by Product Contribution CQ (APL‐SECLIT_00281758 at 857).
        Note: Revenue growth in USD. See Schedule 4 for underlying data and/or calculations.



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                          Appendix B                                   Rebuttal Chart 4D


                                                                               iPhone YoY Revenue Growth
                                                                                      Greater China vs. Turkey
                                                                                    Q2‐Q4 FY2018 vs. Q2‐Q4 FY2017

                                                                 ■ Greater China                                                 ■ Turkey

                                             Q2 FY2018                                               Q3 FY2018                                                 Q4 FY2018
                          40%
                                                         35%


                          30%                                                                                                                            27%
                                       25%
                                                                                               23%

                          20%
 Quarterly YoY Growth %




                          10%



                           0%



                          ‐10%

                                                                                                                  ‐12%

                          ‐20%



                          ‐30%


                                                                                                                                                                            ‐34%
                          ‐40%

        Source: The Q2 FY2018 Revenue by Product Contribution CQ (APL‐SECLIT_00274082 at 083), The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_00353336.xlsx), The Q4 FY2018
        Revenue by Product Contribution CQ (APL‐SECLIT_00281758 at 857).
        Note: Revenue growth in USD. See Schedule 4 for underlying data and/or calculations.



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                Appendix B                                          Rebuttal Chart 5


                                                       iPhone Average Selling Price "ASP" (in USD) by Geography
                                                                                            Select Geographies
                                                                                           Q2 FY2017 ‐ Q4 FY2018

                $1,000
                                                          Greater China                                  Brazil, India, Russia, & Turkey

                 $900




                 $800




                 $700
 ASP (in USD)




                 $600




                 $500




                 $400




                 $300
                             Q2 FY2017             Q3 FY2017                 Q4 FY2017                  Q1 FY2018                 Q2 FY2018                 Q3 FY2018                  Q4 FY2018
     Source: Market Stats SI & ST Units ‐ iPhone and iPhone Analysis (APL_SECLIT_00353335.xlsx), The Q4 FY2018 Market Stats SI & ST Units ‐ iPhone (APL‐SECLIT_00281758 at 865); The Q2 FY2018
     Revenue by Product Contribution CQ (APL‐SECLIT_00274082 at 083), The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_00353336.xlsx), The Q4 FY2018 Revenue by Product
     Contribution CQ (APL‐SECLIT_00281758 at 857), The Q1 FY2019 Revenue by Product Contribution CQ (APL‐SECLIT_00289512 at 527).
     Note: ASP in USD. Brazil, India, Russia, & Turkey is a weighted average calculated using USD iPhone Revenue divided by Sell‐In Units. See Schedule 5 for underlying data and/or calculations.



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                Appendix B                                        Rebuttal Chart 5.1


                                                      iPhone Average Selling Price "ASP" (in USD) by Geography
                                                                                          Select Geographies
                                                                                          Q2 FY2017 ‐ Q4 FY2018

                $1,000
                                                  Greater China                         Brazil                   India                    Russia                    Turkey

                 $900




                 $800




                 $700
 ASP (in USD)




                 $600




                 $500




                 $400




                 $300
                             Q2 FY2017            Q3 FY2017                 Q4 FY2017                 Q1 FY2018                 Q2 FY2018                Q3 FY2018                 Q4 FY2018
     Source: Market Stats SI & ST Units ‐ iPhone and iPhone Analysis (APL_SECLIT_00353335.xlsx), The Q4 FY2018 Market Stats SI & ST Units ‐ iPhone (APL‐SECLIT_00281758 at 865); The Q2 FY2018
     Revenue by Product Contribution CQ (APL‐SECLIT_00274082 at 083), The Q3 FY2018 Revenue by Product Contribution CQ (APL_SECLIT_00353336.xlsx), The Q4 FY2018 Revenue by Product
     Contribution CQ (APL‐SECLIT_00281758 at 857), The Q1 FY2019 Revenue by Product Contribution CQ (APL‐SECLIT_00289512 at 527).
     Note: ASP in USD. See Schedule 5 for underlying data and/or calculations.



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   Appendix B                             Rebuttal Chart 6

                                           iPhone Price Comparison (in Local Currency)
                                                                Select Geographies
                                                                      at Product Launch



                                                          Percentage Increase in Launch Price
                                                              iPhone XR                   iPhone XR
                                                                  v.                          v.
                                                               iPhone 8                    iPhone 6

                                        China                     10%                       23%

                                        Brazil                    30%                       63%

                                        India                     20%                       44%

                                       Russia                     14%                       63%

                                       Turkey                     76%                      215%


                Source: Launch Prices (APL_SECLIT_00161586 at 595).
                Note: Price in local currency.




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                                        Appendix B                                  Rebuttal Chart 6.1


                                                     iPhone Percentage Increase in Launch Price (in Local Currency) ‐ iPhone XR vs. iPhone 8
                                                                                         Select Geographies
                                                                                          at Product Launch

                                                             ■ China          ■ Brazil           ■ India        ■ Russia         ■ Turkey
                                        80%
                                                                                                                                    76%


                                        70%




                                        60%
 Price Increase % (in Local Currency)




                                        50%




                                        40%


                                                                               30%
                                        30%


                                                                                                   20%
                                        20%
                                                                                                                  14%
                                                             10%
                                        10%




                                         0%


             Source: Launch Prices (APL_SECLIT_00161586 at 595).
             Note: Price in local currency.



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                                        Appendix B                                  Rebuttal Chart 6.2


                                                     iPhone Percentage Increase in Launch Price (in Local Currency) ‐ iPhone XR vs. iPhone 6
                                                                                         Select Geographies
                                                                                          at Product Launch

                                                             ■ China          ■ Brazil           ■ India        ■ Russia         ■ Turkey
                                        150%
                                                                                                                                   215% 



                                        125%
 Price Increase % (in Local Currency)




                                        100%




                                        75%

                                                                               63%                                63%


                                        50%
                                                                                                   44%




                                        25%
                                                             23%




                                         0%


             Source: Launch Prices (APL_SECLIT_00161586 at 595).
             Note: Price in local currency.



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                Appendix B                                          Rebuttal Chart 7A


                                                               YoY Weekly Store Traffic Growth ‐ Reseller Stores
                                                                                                Greater China
                                                                                                     Q1 FY2019

                  20%




                  10%




                   0%
 YoY Growth %




                 ‐10%




                 ‐20%



                                      Q4 2018 earnings call 11/1/18
                 ‐30%




                                                                                                        Q1 FY2019
                 ‐40%
                 Week        1         2              3             4             5              6             7             8              9            10            11              12   13

     Source: Q1 FY2019 Reseller Traffic (APL_SECLIT_00613375.xlsx).
     Note: The YoY growth percentages are calculated using average store traffic for the respective time period and program. See Schedule 7 for underlying data and/or calculations.




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                Appendix B                                          Rebuttal Chart 7B


                                                              YoY Weekly Store Traffic Growth ‐ Reseller Stores
                                                                                                Greater China
                                                                                          Q4 FY2018 ‐ Q1 FY2019

                  20%
                                                                                                                                           Q4 2018 earnings call 11/1/18

                                                  Q4 FY2018
                                         Greater China YoY Growth [1]
                  10%
                                              Total Revenue  16%
                                            iPhone Revenue  27%

                   0%
 YoY Growth %




                 ‐10%




                 ‐20%




                 ‐30%




                                                         Q4 FY2018                                                                                  Q1 FY2019
                 ‐40%
                 Week   1    2     3      4      5      6      7      8      9      10     11     12     13     1      2      3       4      5      6      7      8      9     10      11   12   13
     Source: Q4 FY2018 Reseller Traffic (APL_SECLIT_00087724.xlsx), Q1 FY2019 Reseller Traffic (APL_SECLIT_00613375.xlsx); The Q4 FY2018 Revenue by Product Contribution CQ (APL‐
     SECLIT_00281758 at 857).
     Note: The YoY growth percentages are calculated using average store traffic for the respective time period and program. See Schedule 7 for underlying data and/or calculations.
     [1] See Rebuttal Charts 1 and 2.



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                Appendix B                                         Rebuttal Chart 7C


                                                               YoY Weekly Store Traffic Growth ‐ Retail Stores
                                                                                           Greater China [1]
                                                                                                 Q1 FY2019

                  20%


                                                  13%
                                                                12%

                  10%
                                     6%


                         0.1%
                   0%
 YoY Growth %




                 ‐10%




                 ‐20%



                                    Q4 2018 earnings call 11/1/18
                 ‐30%




                                                                                                    Q1 FY2019
                 ‐40%
                 Week        1        2             3            4             5             6             7            8             9            10            11           12        13
     Source: Q1 FY2019 Retail Traffic (APL_SECLIT_00204002.xlsx).
     Note: The YoY growth percentages are calculated using average store traffic for the respective time period. See Schedule 7C for underlying data and/or calculations.
     [1] Data does not include Taiwan, which had one retail store during Q1 FY2018 ‐ Q1 FY2019 (https://www.apple.com/newsroom/2017/06/apples‐first‐store‐in‐taiwan‐opens‐saturday/).




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